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 14
                          UNITED STATES DISTRICT COURT
 15                      CENTRAL DISTRICT OF CALIFORNIA
 16                            WESTERN DIVISION
 17
      LAROY ALEXANDER,                       ) No. 2:21-cv-00063-RAO
 18                                          )
 19         Plaintiff,                       ) [PROPOSED] JUDGMENT OF
                                             ) REMAND
 20                v.                        )
 21   KILOLO KIJAKAZI,                       )
      Acting Commissioner of Social          )
 22
      Security,                              )
 23                                          )
 24
            Defendant.                       )
                                             )
 25
 26         The Court having approved the parties’ Stipulation to Voluntary Remand
 27   Pursuant to Sentence Four of 42 U.S.C. § 405(g) and to Entry of Judgment
 28   (“Stipulation to Remand”) lodged concurrent with the lodging of the within



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  1   Judgment of Remand, IT IS HEREBY ORDERED, ADJUDGED AND
  2   DECREED that the above-captioned action is remanded to the Commissioner of
  3   Social Security for further proceedings consistent with the Stipulation to Remand.
  4
  5   DATED: October 4, 2021
  6                                         HON. ROZELLA A. OLIVER
                                            UNITED STATES MAGISTRATE JUDGE
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